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                          UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF TEXAS
                               BEAUMONT DIVISION

UNITED STATES OF AMERICA                     §
                                             §
v.                                           §    CASE NO. 1:16CR84
                                             §
TEUAL LASHAWN HARPER                         §


        FINDINGS OF FACT AND RECOMMENDATION ON GUILTY PLEA
             BEFORE THE UNITED STATES MAGISTRATE JUDGE

       By order of the District Court, this matter was referred to the undersigned United

States Magistrate Judge for administration of a guilty plea and allocution under Rules 11 and

32 of the Federal Rules of Criminal Procedure. Magistrate judges have the statutory authority

to conduct a felony guilty plea proceeding as an “additional duty” pursuant to 28 U.S.C. §

636(b)(3). United States v. Bolivar-Munoz, 313 F.3d 253, 255 (5th Cir. 2002), cert. denied,

123 S. Ct. 1642 (2003). On February 8, 2017, this cause came before the undersigned United

States Magistrate Judge for entry of a guilty plea by the defendant, Teual Lashawn Harper, on

Count One of the charging Indictment filed in this cause.

       Count One of the Indictment charges that on or about October 1, 2016, the exact date

being unknown to the Grand Jury, and continuing thereafter until on or about October 13,

2016, in the Eastern District of Texas and elsewhere, Teual Lashawn Harper, a/k/a “Lashawn


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Harper,” and co-defendant herein, did intentionally and knowingly conspire, combine,

confederate and agree together, with each other, and with other persons known and unknown

to the Grand Jury, to interfere with commerce by robbery, namely, to unlawfully take and

obtain property consisting of money and other property of value, from the person or presence

of another by means of actual and threatened force, violence, and fear in violation of Title 18,

United States Code, Section 1951(a) and, in furtherance of the conspiracy and to effect the

objects of the conspiracy, the defendant committed the following overt acts, among others, in

the Eastern District of Texas and elsewhere:

       a. On or about October 10, 2016, a member of the conspiracy did unlawfully take

           United States currency from the presence fo an employee at the Express Mart on

           Dowlen Road in Beaumont, Texas by means of force, violence, and fear, namely,

           by brandishing a knife at the employee;

       b. On or about October 11, 2016, a member fo the conspiracy did unlawfully take

           United States Currency and twelve packs of cigarettes from the presence of an

           employee at the Express Mart on Highway 105 in Beaumont, Texas by means of

           force, violence, and fear, namely, by brandishing a firearm at the employee;

       c. On or about October 11, 2016, a member of the conspiracy did unlawfully take

           United States currency from the presence of am employee at the 7-11 store on

           Eastex Freeway in Beaumont, Texas by means of force, violence, and fear namely,

           by brandishing a firearm at the employee. All in violation of Title 18, United

           States Code, Section 1951.




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       Defendant, Teual LaShawn Harper, entered a plea of guilty to Count One of the

Indictment into the record at the hearing.

       After conducting the proceeding in the form and manner prescribed by Federal Rule of

Criminal Procedure 11 the Court finds:

       a. That Defendant, after consultation with counsel of record, has knowingly, freely

and voluntarily consented to the administration of the guilty plea in this cause by a United

States Magistrate Judge in the Eastern District of Texas subject to a final approval and

imposition of sentence by the District Court.

       b. That Defendant and the Government have entered into a plea agreement and a plea

agreement addendum which were addressed in open court and entered into the record.

       c. That Defendant is fully competent and capable of entering an informed plea, that

Defendant is aware of the nature of the charges and the consequences of the plea, and that the

plea of guilty is a knowing, voluntary and freely made plea. Upon addressing the Defendant

personally in open court, the Court determines that Defendant’s plea is voluntary and did not

result from force, threats or promises. See FED. R. CRIM. P. 11(b)(2).

       d.   That Defendant’s knowing, voluntary and freely made plea is supported by an

independent factual basis establishing each of the essential elements of the offense and

Defendant realizes that her conduct falls within the definition of the crimes charged under 18

U.S.C. § 1951.

                                STATEMENT OF REASONS

       As factual support for Defendant’s guilty plea, the Government presented a factual

basis. See Factual Basis. In support, the Government and Defendant stipulated that if this


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case were to proceed to trial the Government would prove beyond a reasonable doubt, through

the sworn testimony of witnesses, including expert witnesses, as well as through admissible

exhibits, each and every essential element of the crime charged in Count One of the

Indictment. The Government would also prove that the defendant is one and the same person

charged in the Indictment and that the events described in Indictment occurred in the Eastern

District of Texas and elsewhere. The Court incorporates the proffer of evidence described in

detail in the factual basis and stipulation in support of the guilty plea.

       Defendant, Teual LaShawn Harper, agreed with and stipulated to the evidence

presented in the factual basis.       Counsel for Defendant and the Government attested to

Defendant’s competency and capability to enter an informed plea of guilty. The Defendant

agreed with the evidence presented by the Government and personally testified that she was

entering her guilty plea knowingly, freely and voluntarily.

                               RECOMMENDED DISPOSITION

       IT IS THEREFORE the recommendation of the undersigned United States Magistrate

Judge that the District Court accept the guilty plea of Defendant which the undersigned

determines to be supported by an independent factual basis establishing each of the essential

elements of the offense charged in Count One of the charging Indictment on file in this

criminal proceeding.     The Court also recommends that the District Court accept the plea

agreement and plea agreement addendum pursuant to the Local Rules for the United States

District Court for the Eastern District of Texas and Federal Rule of Criminal Procedure 11(c).

Accordingly, it is further recommended that, Defendant, Teual LaShawn Harper, be finally

adjudged as guilty of the charged offense under Title 18, United States Code, Section 1951.


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       Defendant is ordered to report to the United States Probation Department for the

preparation of a presentence report. At the plea hearing, the Court admonished the Defendant

that the District Court may reject the plea and that the District Court can decline to sentence

Defendant in accordance with the plea agreement and addendum, the federal sentencing

guidelines and/or the presentence report because the sentencing guidelines are advisory in

nature. The District Court may defer its decision to accept or reject the plea agreement and

addendum until there has been an opportunity to consider the presentence report. See FED. R.

CRIM. P. 11(c)(3). If the Court rejects the plea agreement, the Court will advise Defendant in

open court that it is not bound by the plea agreement and Defendant may have the opportunity

to withdraw the guilty plea, dependent upon the type of the plea agreement. See FED. R. CRIM.

P. 11(c)(3)(B). If the plea agreement is rejected and Defendant still persists in the guilty plea,

the disposition of the case may be less favorable to Defendant than that contemplated by the

plea agreement or addendum. Defendant has the right to allocute before the District Court

before imposition of sentence.

                                         OBJECTIONS

       Objections must be:       (1) specific, (2) in writing, and (3) served and filed within

fourteen (14) days after being served with a copy of this report. See 28 U.S.C. § 636(b)(1). A

party’s failure to object bars that party from: (1) entitlement to de novo review by a district

judge of proposed findings and recommendations, see Rodriguez v. Bowen, 857 F.2d 275,

276-77 (5th Cir. 1988), and (2) appellate review, except on grounds of plain error of

unobjected-to factual findings and legal conclusions accepted by the district court, see

Douglass v. United Servs. Auto. Ass’n., 79 F.3d 1415, 1417 (5th Cir. 1996) (en banc). The


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    constitutional safeguards afforded by Congress and the courts require that, when a party takes

    advantage of his right to object to a magistrate’s findings or recommendation, a district judge

    must exercise its nondelegable authority by considering the actual evidence and not merely by

    reviewing and blindly adopting the magistrate’s report and recommendation. See Hernandez v.

    Estelle, 711 F.2d 619, 620 (5th Cir. 1983); United States v. Elsoffer, 644 F.2d 357, 359 (5th

    Cir. 1981) (per curiam).

               SIGNED this the 9th day of February, 2017.




                                                ____________________________________
                                                KEITH F. GIBLIN
                                                UNITED STATES MAGISTRATE JUDGE




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